                                       Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 1 of 11
    lS   44 (Rev       06/17)
                                                                                             CIVI                 COVER SHEET
  The JS 44            c           heet   a                         ion contained herein.neither replace              nor
  provided         bv               olcq                            qppryyed bv trie iudicial aoniS;;;;e              ;i                           lrng and servrce ofole
                                                                                                                                                   't;'s#;"b;; r"r;l:i;                 or other papers as required by law. excepr as
  purpose of        i              ecivil                      t     litt wsrn'uctiois       oN   ur.:xr   p,qct w                                                                     )d lor the use of the Clerk ofCourt for thb

     (a) ^PLAINTIFFS
  Luoug
         5pooak                                                                                                                         ..DEFENDANTS
                                                                                                                                        GoNow I echnologies LLC,                              Noblitt, Steve Lerner and phil
                                                                                                                                        Cooper

         (b)      County ofResidence ofFirsr Listed Plaintiff
                                                                                                                                         County ofResidence ofFirst Lis                 Defendant Kent(Delaware)
                                             (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                                                                                                                  cASES ONLy)
                                                                                                                                         NOTE:        IN LAND CONDEMNATI(                            USE THE LOCATION OF
                                                                                                                                                      THE TRACT OF LAND IN

                                (Firn                     nd relephone Nunber)                                                              Attorneys (lfKnown)
                                her,                       laghelr Law Group, pC, 5 Great Valley                                       N/A
                                210,                           19355


 II.      BASIS OF JURISDICTION 4ro." o n ',x,, in one Box ontv)                                                      III.      CITIZENSHIP OF PRINCIPA                                    PARTIES           (Place an "X" in One Bor lor ptaintjfl

 O I US
                                                                                                                                     (For Diversity Caret     Or,rrn,                                           and One Box for Defenclant.l
                   Govemmenl                       o3     Federal Question
                                                                                                                                                                            DEF                                                   rTF
                 PIaintiff                                                                                                                                                                                                                   DEF
                                                               (U.5. Governnent Not a l,arty)                               CitizenofThisState                   dt          O    I    lncorporated or Principal Place             O4        O    4
                                                                                                                                                                                          of Business ln This State
 O       2 US Govement                             E+     Diversiry                                                         CitizenofArotherState D 2
                 Defendat                                      (ndicate Citizerehip of Parties in ltem
                                                                                                                                                                             6    Z    lncorporated ard Principal      Place       D5        (E   S
                                                                                                           lll)                                                                           ofBusiness In Another State

                                                                                                                            Citizen or Subject     ofa           O3          O    3              Nation                            o6        06
 IV. NATURE OF SUIT                                      an "X" in One Box

 O I l0 lnsumce                                     PERSONAL INJURY                        PERSONAL INJURY                      625 Drug Related Seiare                                28 USC I 58               375 False Claims Act
 O 120 Mrine                                   O   310 Airplme                     O   365 Personal lnjury -                        of Property 2 I USC 88 I
 O 130 Miller Act                                                                                                                                                                                                376 Qui Tm (3 I USC
                                               O   315 Airplme Product                     Product Liabiliry
 O 140 Negotiable Instrumont                                                                                                                                                                                         3729(a))
                                                         Liability                 O   367 Health Cile/
 O 150 Recovery ofoverpalment                                                                                                                                                                                    400 State Reapportionment
                                               D   320 Assault, Libel &                      Phimace utical
                                                                                                                                                                                                                 410 Antitrust
           &     Enforcoment of Judgment                 Slmder                              PersonaJ Injury
 D l5l     Medcde Act                                                                                                                                                                                        D   430 Banks md Banling
                                               D   330 Federal Employers'                  Product Liability                                                          O
 O       52 Recovery ofDefaulted
                                                                                                                                                                          830 Patent                         D   450 Comerce
     I                                               Liability                     O   368 Asbestos Personal                                                          O
            Student Loils                      O 340 Maine
                                                                                                                                                                          835 Patent                         O   460 Deportation
                                                                                           Injury Product                                                                                                    D   470 Racketeer Influened and
            (Excludes Voterils)                O 345 Maine Product                        Liability
O    153 Rercvuy ofOverpayment                                                                                                                                                                                         Corupt Orgmizations
                                                     Liability                        PERSONAL PROPERTY
         of Ve teril's Benefits                                                                                                                                                                              O   480 Consumer Credit
                                               D   350 Motor Vehicle               D   370 Other Fraud                          710 Fair Labor     Srildilds              861 HrA (
O    160 St@kholders' Suits
                                                                                                                                                                                                             D   490 Cable/Sat TV
                                               O   355 Motor Vehicle               O   371 Truth in Lending                           Act
X    190 Other Contract
                                                                                                                                                                                                             O   850 Securities/ComnoditieV
                                                       Product Liabitity           O   380 Other Personal                   O   720 Labor/Muagement                                                                    Exchilge
D    195 Contract Product        Liability     O   360 Other Personal                      Property Damage                          Relations
O    196   Frmchise                                                                                                                                                                                          O   890   Other Statutory Actions
                                                        Injury                     D   385 Property Dmage                   O   ?40 Railway Labor Act              o      86s RSI (                          O   891   Agricultural Acts
                                               D   362 Personal lnjury -                   Product Liabiliry                    75   | Fmily md    Medica.l                                                  O   893   Environmental Maffers
                                                                                                                                    Leave Act                                                                O   895   Freedom oflnfomation
                                                                                                                                790 Other Labor Litigation                                                             Act
u    z   tu Lilo uondemabon                    O 440 Other Civil Rights                Habero Corpus:                           791 Employee Retirement                                 S.   Plaintiff       O   896 Arbitration
O    220   Foreclosure                         D 441 Voting                       D    463 Alien Detaine                            Income Securiry Act
O    230   Rent Lese & Ejechnent
                                                                                                                                                                                                             O   899 Administrative Procedure
                                               O 442 Employment                   O    5   [0 Motions to Vacate
D    240   Torts to Lmd                                                                                                                                                                                              Act/Review or Appeal of
                                               O 443 Housing/                                Sentence
D          Tort Product Liability                                                                                                                                                                                    Agency Decision
     245                                             Accomodations         u )JU Ueneral                                                                                                                     O   950 Constinrtionality of
O    290   All   Other Real Properry           O 445 Amer w/Disabilities - O 535 Death Penalry
                                                                                                                                                                                                                     State Statutes
                                                     Employment              Other;                                             462 Naturalization Application
                                               D 446 Amer w/Disabilities - O 540 Madmus & Other                                 465 Other Imigration
                                                     Other                 O 550 Civil Rights                                        Actions
                                              0    448 Education                  O    555 Prison Condition
                                                                                  O    560 Civil Detainee -
                                                                                             Conditions of
                                                                                             Confinement
V. ORIGIN (ptace an "X" in one Box Only)
Xl Original 02 Removedfrom                                              D 3      Remanded from                    J4       Reinstated or           D5                                   6     Multidistrict             D 8 Multidistricl
    Proceeding State Court                                                       Appellate Court                           Reopened
                                                                                                                                                          Transfened from
                                                                                                                                                                                              Litigation -
                                                                                                                                                          Another District                                                    Litigation -
                                                                                                                                                                                              Transfer                        Direct File
                                                    Cite the       U.S Civil Statute under which you              a

VI.                                                 28 U.S.C 1332
          CAUSE OF ACTION

VII.       REQUESTED                   IN           N    CHECK IF THIS IS A CLASS ACTION                                     DEMAND            $                                           K YES only if demanded in conrprarnr
     COMPLAINT:                                          UNDER RULE 23, F R Cv P
                                                                                                                                  75,                                                  Y    DEMAND: I Yes                         ONo
vrrr. RELATED CASE(S)
                                                        (See   instmctions)
      IF ANy     -                                                                                                                                                                     UMBER
DATE


                   E

  RECEIPT #                                                                                 APPLYINC IFP                                                                                     MAG JUDGE
              Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 2 of 11



                                                                                                                                      APPENDIX           I
                                          IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF PENNSYLV



                 IN THE UNITED S1'A']'IIS D[S']-RICI COURT FOR THE EASTERN DISTRICT
                                                                                    OF                                    SYLVANIA
      DOUG SPODAK
                                                                                              CIVIL ACTION
                                       Plaintil'l


  GONOW TECHNOI.OC llrls Lt.C

               and

  NILES NOBLI'TT

               and


  STEVE LERNER

               an0


  PHIL COOPER                                                                                JURY   ]'RIAI   DEM

                                      Def'endants




 In accordance with the Civil Justice Expense and Delay Reduction plan of this r)(}u
                                                                                                                       . counsel for plaintiff shall
 complete a case Management Track Designation Form in all civil cases at the time                                      f filing the complaint and
 serve a copy on all defendarrts. (See 1:03 ofthe plan ser fbrth on the reverse
                                       $                                            side                                l'this form.) In the event
 that a defendant does not agree with the plaintil"f regarding said designation, that de
                                                                                                                         ndant shall, with its first
 appearallce, submit to the clerk of court and serve on the plaintiff and all other parti
                                                                                                                       $, a case management
 track designation form specif,ing the track to which that defendant believes the cas                                  should be assigned.

 SELECT ONE OF THE FOLLOWTNG CASE MANAGEMENT TRACKS:

 (a) Habeas corpus'- cases brought under 2g u.s.c. g2241 through g2255.
                                                                                                                                                ()
 (b) Social Security -    Cases requesting revierv of a decision of the Secretarv of l-leal
        and I-luman Services de'ying praintiffsocial Security Benefits
                                                                                                                                                ()
(c) Arbitratiotr          -   Cases required to be designated for arbitration under Local              Civil                                  (x     )
(d) Asbestos          -   cases involving claims for personal injury or property darnage from,
       exposure t0 asbestos.
                                                                                                                                                ()
(e)                                                    r            int
                                                           do nor fall                 ) rhrough (d) that    are
                                     a                           need
                                                           and that                    intcnse management          D
                                     e                 s form tbr a de                 anation of special


(f     Standard Management            -   Cases that do not            fall into any one of the other tracks,


Date                                                       Attorney-at-law
t2t14/17                                            John   A    Gallaghcr, Esq.

Telephone                                                  FAX Number
/1A     ata    EA44
                                                           /1    lla    aA^,
                                Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 3 of 11
                                                                     UNITED STATES DISTRICT COURT                                                                         APPENDIX   F



                                                                  DESIGNATION FORM to be used by counsel !o indicate the                          of the case for the PurPose of
reR       THE EASTERN [[STR|CT OF PENNSYLVANIA                -
asslgnment to appropriare calendar'



Address of       Plaintifi;*,        1013       N. Providence Road, Newtown Square,                               PA 19073

                                -
                                                                                                                        DuPont            tr       hnrror          DE,     19901
                                    ^,* -.-.c/o Incorporating Services, LTD, 35OO
                                                                                  S.                                                      J t      vv f vL,
Address of Derendant:---


 Place of Accident, Incident or Transaclion:        -             €c3te.n -D$Uiq! gl-PA
                                                    (tJse Reverse Stde For Addilional Space)


                                                                                             and any publicly held corporation              l0% or       more of its stock')
Does this civil action involve a nongovernmental corporate party with any parent corporation
      (Attach two copies of the Disclosure Statement Form in accordance wilh Fed'R,Civ'P'        7'l(a))                                          vesE roE
Does this case involve multidistrict litigation possibililies?
                                                                                                                                                 v""E loE

REUTED CASE, IF ANY.
                                                                           Jilc{q                                                                 Date Terminated:
Case Number: . -.."NL4.



                                                                            questions;
Civil cases are deemed related When yes is answered to any of the followlng


                                                                                           within one year previously lermlflalgg                 in this court?
 l.       ls this case related to property included in an earlier numbered suit pending or
                                                                                                                                                         roEl
 2.       Does *lis c83e involve the same issue of      fad or grow out of the same ransadion   aB   a Prior suit Pendi'€   or      in     year previarsly tqiminsted


           as{ion in this court?
                                                                                                                                          tr             HoEl
                                                                                          or any earlier number€d cas€ pso               within on€ year Pr€vlously
 3.       Do€s this case involve the validity or infringemgnt of a patent already in suil
                                                                                                                                                         ruoE
           terminated action in this court?



 CM,L: (Place              in ONE CATEGORY ONLY)
                      "                                                                                     B.     Diversity
 A.-                Question Cases:

 t. E            frOemnity Conlract, Marine Contract, and All Olher Contracts
                                                                                                            L     E ,n"r."n""                   and Other Contracts

  ?. E            pera                                                                                      ?,    E Ri,plane                    InJury


  :. E tn." Act-Personal In1ury                                                                                   El nssautt,
  4. F Rn,i rr,                                                                                             4.    E M-rinu                 Injury


  5. E P"r"n.                                                                                               5.     E    vo,o.            Personal Injury

  g. E umr-Managemenl Relalions                                                                             5.     E    o'h".             Injury (Please specify)


      ,                                                                                                      7.    E     Proouct"


   8. E            H"bea" corpu.                                                                             8.    E     Products           -      Asbestos

                                                                                                                                            All other Diversity Cas€s
   9. tr                  rities Act(s) cases

  to. E           Sopial Security Review Cases                                                               XX     {Ptease speciiy)                          OF CONTRACT
  ll.
                  (P{ease specity)
                         Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 4 of 11
                                                                   ARBITRATION CERTIFICATION
                                                                                 eppraqilate catewty)
i.-.-,.   " ..     "JchnA,   Galleshpr                                                                  clunsel of       do hereby ceilifu:




   X Pursuantto Local Civil Rule 53.2, Seaion 3(c)(2), that to the best of my knowl@e and belief, the            recoverable in this civil acrion case   dO nOt
exceed     $e sum of $150,0O0,00 exclusive of interesl   End costs;

                  Relief other than monetary damages is sought.



DATE:                         ?0:t7   ___                J-o-hn 4,.-S,pllegher
                                                         Attomey-at-Law


                        NOTE: A trial de novo will be a trial by jury only if there has                                      F.R.C.P, 38.



I cedify hat, to my knowledge, the wlthin case ls not related to any case now perdirp or within or3                         ated acton in this court
except ss noed above.


                 D|lrmbar 1L 2rl17
                                                         Attorney-at-Law
      Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 5 of 11

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             I~~~~~. ~ 1. tt''~~
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                                           I
                     IN THE YNITED STATES DISTRICT COURT
                  FOR THE EA~TERN DISTRICT OF PENNSYLVANIA
                                           !I


DOUGSPODAK
                                                                           CIVIL ACTION NO.
                             Plaintiff
       v.

GONOW TECHNOLOGIES ULC                                                                 1 '7         571 fJ
                                           'i
       and                                  I
                                           !,




NILES NOBLITT
                                                                                       FILED
       and
                                                                                      DEC 18 2 17
STEVE LERNER                                                                     B   ~felt,.
                                                                                  Y~Deµ. Clerk
       and

PHIL COOPER                                                                JURY TRIAL DEMANDED


                             Defendants


                                                     COMPLAINT

       Plaintiff, Doug Spodak,:I by and through his undersigned counsel, the Gallagher Law

Group, PC, files this Complaint against defendants, GoNow Technologies LLC, Niles Noblitt,

Steve Lerner and Phil Cooper, Ld
                              I
                                 in support thereof avers as follows:
                                            II




                                                I
                                                          PARTIES
                                                !1



       1.       Plaintiff, Doug           ~podak,     is an adult individual, United States citizen and resident

of the Commonwealth of                Penn~ylvania who currently resides at 125 Harvest Circle, Bala
                                                i


Cynwyd, PA 19004.
      Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 6 of 11




                                      I

       2.      Plaintiff herein ~sserts
                                'i
                                        a claim for breach of contract arising out of defendants'
                                      I

breach of their obligation to pa~ plaintiff severance and his counsel attorneys' fees pursuant to
                                      :1




the parties' written and duly   e~ecuted agreement.
       3.      Plaintiffs counjel, The Gallagher Law Group, PC ("GLG"), has assigned all of

its rights to collect on its claim'lagainst defendants for attorneys' fees and costs to Mr. Spodak.
                                  :1



       4.      Defendant, Go!iow Technologies LLC ("GoNow"), is an LLC duly organized and
                                      I
existing under the laws of the   ~tate     of Delaware (incorporation date February 3, 2009).

       5.      GoNow has beeb non-operational for some time, and does not currently have a
                                 I
principal place of business (or fny place of business).

       6.      The State of Delaware's Department of State, Division of Incorporations website

states the following concerning GoNow: Registered Agent Information, Incorporating Services,
                                  i
                                      I
LTD, 3500 S. DuPont Way, Diver, DE, 19901.

       7.      GoNow is an etjtity that has developed and maintains patentable technology.

       8.      Defendant,    Nile~ Noblitt, is an adult individual, United States citizen and resident
of the State of Florida who cuJently resides at 934 Flagship Drive, Summerland Key, FL 33042.
                                 !I



       9.      Defendant,    Stev,~ Lerner, is an adult individual, United States citizen and resident
of the State of New Jersey   wh~I currently resides at 5 Krams Trail, Bound Brook, NJ 08805.
                                  I



       10.     Defendant, Phil ;(cooper, is an adult individual, United States citizen and resident
                                 i


of the Commonwealth of Mass~chusetts who currently resides at 7 Fieldstone Drive, Winchester,
                                 i
                                 i
MA 01800.                        !I

                                 'I
                                 11




       11.     The individual 4efendants have at a material times comprised the Board of

                                 c
                                 1




Directors of GoNow and will bnectively be referred to herein as "the Board."




                                                   2
      Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 7 of 11




                                           !    JURISDICTION AND VENUE
                                         'I

           12.      The amount in c'pntroversy in this matter does not exceed the arbitration
                                         Ii
                                         ,,:1

                                         'I
limits of this Court.                    1,


                                         11


                                         ":1

           13.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332,

. f:ar as th ere 1s
mso              . compete
                       l   d'1v~rs1ty between th e parties
                                         :1      .     . an d th e amount m
                                                                          . controversy,

including damages, fees and       co~ts, exceeds $75,000.
                                          I
        14.         Venue is proper1in the Eastern District of Pennsylvania pursuant to 28

U.S.C. §1391(a)(2), as defendaht resides and operates within this District.

       15.          Venue is proper/in the Eastern District of Pennsylvania pursuant to 28 U.S.C.

§1391(b), as a substantial part 0fthe
                                 I
                                      events giving rise to the claims occurred in the Eastern
                                     'I
                                         I

District of Pennsylvania.                I

                                     11


                                         I
                                     11




        16.         Plaintiff herein demands damages of in excess of $75,000 (inclusive of attorneys,
                                     :I




fees, costs and interest), and foJ less than $150,000.
                                     ',

                                     i

     A.          Background. The Farties' Agreement
                                     '
                                    .1


       17.          In October 20]3, the parties entered into a document styled Separation of
                                     'I




Employment and General Rellse ("Agreement"), the recitals and material terms of which, set
                                     ,1



                                     :1



forth below, establish the       ma~erial            facts necessary to understanding the dispute at hand, as

follows:                            if




                                    !I

            THIS SEPARATION OF EMPLOYMENT AND GENERAL RELEASE
            (this "Agreement") is:[ entered into as of November 14,2013 by and between
            GoNow Technologies, LLC, along with its parents, subsidiaries, affiliates,
            successors, assigns, clxecutives, Directors and agents (the "Employer") and
            Doug Spodak ("Execltive").

            WHEREAS, Execu~ive has been employed by Employer as its Chief
            Executive Officer;      !I




                                    :1




                                                           3
Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 8 of 11




  WHEREAS, Executive's employment with the Employer has ended effective
  as of October 23,2011 (the "Separation Date"); and

  WHEREAS, Execut~ve and Employer mutually desire to amicably resolve
  the ending of Execut:~ve's employment with Employer and the other matters
  contained herein.    I




  NOW, THEREFORk, in consideration of the mutual promises set forth in
  this Agreement and df other good and valuable consideration the sufficiency
  of which Executive abknowledges, and intending to be legally bound hereby,
                       ,1



  Executive and the Em;ployer agree as follows:
                       I

  1. Severance Benefits!. In full consideration of Executive's execution and
  performance of thisl Separation of Employment Agreement and General
  Release, and his agreement to be legally bound by its terms, Employer agrees
  to:                   I
                        I
                       !


   a) pay Executive a dne-time payment of $10,500 for documented
   business expenses !incurred by Executive on Employer's behalf within
                       1



   three business daysl after the receipt by the Employer of a minimum of
                       1




   $100,000 in debt or equity financing ("Bridge Funding");
                       I




   b) subject to therec~ipt  of not less than $300,000 (inclusive of the
   Bridge Financing) ~n debt or equity financing (the "First Funding") and
   satisfaction of the I "Transition Completion" specified in Section l(t)
   below, pay (i) Exechtive an amount equal to $4,350 per month on or prior
   to the third busin~ss day of each month through August 2014 (the
   "Monthly Paymentsj"), minus all payroll deductions required by law or
   authorized by him, iand (ii) The Gallagher Law Group, PC.", Executive's
   legal counsel, an aJ11.0unt equal to $1,450 per month;
                       I
                       I
   c) pay the first two lfv1onthly Payments within three business days of
   attaining the Transi~ion Completion;
                       I


                       i
   d) if the Employer receives not less than $800,000 (inclusive of the
   "First Funding") in total debt or equity financing, the remaining unpaid
   Monthly Payments shall be accelerated and paid within three business
   days after t~e receilt by the Empl~yer of such financing'.

   f) within five busim~ss days upon the closing of the First Funding,
   Employee (i) mee~ with the Employer and its designated agents in a
   mutually acceptabl~ place within the Philadelphia metropolitan area to
   transfer all Emplohr accounts, financial and otherwise (e.g. internet
   domain accounts, cprporate registration accounts, etc.), and all corporate
   and financial recorqs, including all receipts that underlying any Employer
   debt obligations (i~cluding credit card debt), and (ii) reach a mutually



                                     4
      Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 9 of 11




             agreed plan on h~w any necessary items from such meeting will be
             satisfied (the "Transition Completion");
                                 I
          14. Governing Law. This Agreement shall be governed by and construed in
          accordance with the lkws of the Commonwealth of Pennsylvania with regard to
          conflicts of laws rule~
                                 I
                                 ,I

          17. Legal Expenses. The parties agree that if either party shall prove a breach of
          this Agreement in a c:purt of competent jurisdiction, then the prevailing party in
          such action shall be entitled to receive reimbursement of all reasonably incurred
          attorney's fees and cohs.
                                 I
                                 .I


     B.      Initial Funding Cohtpleted; Some Terms of Agreement Honored
                                 I
       18.      At or around theI time of the execution of the Agreement, or shortly thereafter,
                                  I
                                  I
GoNow received a minimum of $100,000 in debt or equity financing ("Bridge Funding").
                                      I
       19.      At or around the time of the execution of the Agreement, or shortly thereafter, the
                                      1



                                      I

defendants completed a paymefut to plaintiff of $10,500.
                                      I


       20.      At or around thel time of the execution of the Agreement, or shortly thereafter,

GoNow received a minimum of $300,000 (inclusive of the Bridge Financing) in debt or equity

financing (the "First Funding'l

       21.      Mr. Spodak sati~fied his obligations concerning "Transition Completion" set forth

in ~l(f) in a timely manner.

       22.      Defendants   mad~ an initial payment of $4,350 to plaintiff in a timely fashion.
                                      I
                                      I

       23.      Defendants ma4 an initial payment of $1,450 to GLG in a timely fashion.

       24.      Defendants   mad~ a second payment of $4,3 50 to plaintiff in a timely fashion.
       25.      Defendants mad~ a second of $1,450 to GLG in a timely fashion.

     C.      Defendants Breachl. Ignore Demands for Satisfaction

       26.      After making   thl initial two (2) payments required pursuant to ~1 (b), defendants
                                          I

ceased making payments to Mr! Spodak and GLG.
                                          !




                                              5
     Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 10 of 11




       27.     In addition and/br alternatively, GoNow has since January 2014 received in
                                   I


excess of $799,999.99   (inclusi~e of the "First Funding") in total debt or equity financing (or
                                   !



reasonable equivalent thereto).    I
                                   I
                                   I

       28.     Despite receivirtg such financing, defendants failed and refused to accelerate any,

much less all of, the remaining'lpayments then due and owing to plaintiff.
                                   I

       29.     Plaintiff has ma~e numerous written demands upon defendants for payment of the

monies to which he is entitled, ibut defendants have failed to satisfy such demands either in
                                   I

whole or in part.                  I

                                   I

       30.     GoNow currentl y, and has at all material times hereto, been the owner of one or
                                   1




more patents that have substantia value (in excess of $100,000).

       31.     Each member off the Board has at all times material hereto been the owner of

liquid and other assets that haJ far exceeded the debt owed to plaintiff and GLG.
                                   I

       32.     GoNow has on rhore than one occasion made a willful, intentional decision(s) to
                                   I


withhold payment of the moniels owed to plaintiff and GLG despite being notified of its breach
                                   I

of the Agreement, and despite ~aving actual knowledge of its breach of the Agreement.
                                   I

       33.     The individual d.efendants, and the Board, have/has on more than one occasion
                                   I
                                   I
                                   I

made a willful, intentional deci~ion(s) to withhold payment of the monies owed to plaintiff and

GLG despite being notified of     ~ts breach of the Agreement, and despite having actual knowledge
                                   I

of its/their breach of the Agreetent.

       34.     Plaintiff is   entitl~d to attorneys' fees and costs pursuant to the terms of the
Agreement.                         I




                                                 6
     Case 2:17-cv-05715-MSG Document 1 Filed 12/18/17 Page 11 of 11




                                 !

                            COUNT I - PLAINTIFF V. ALL DEFENDANTS
                                 !
                                   Breach of Contract
                                 I

       35.     Plaintiff hereby :~ncorporates by reference all other paragraphs of his Complaint as

though set forth at length hereil.
                                 I
       36.     Plaintiff honored! all of his obligations and responsibilities under the Agreement.

       37.     Defendants   hav~ breached their obligations to pay plaintiff severance and
                                 !
                                 '
attorneys' fees pursuant to eh Agreement.
                                 I

       38.     Plaintiff is entitl'ed to attorneys' fees and costs.
                                 I
                                 I
       WHEREFORE, plaintitf, Doug Spodak, hereby demands judgment in his favor in an
                                 I

amount in excess of $75,000 (apd less than $150,000) against defendants, GoNow Technologies
                                 i
LLC, Niles Noblitt, Steve Lerner and Phil Cooper, in a sufficient amount to fully compensate
                                 '
                                 I

him for his losses, along with attorney's fees, costs and such other relief as the Court deems just

and appropriate.



                                     GALLAGHER LAW GROUP, PC
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                                             John A.  Gallagh~-·~
                                             Atty. I.D. 61914           ··.
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